Case 1:14-cr-00044-LG-RHW   Document 275   Filed 02/02/15   Page 1 of 6
Case 1:14-cr-00044-LG-RHW   Document 275   Filed 02/02/15   Page 2 of 6
Case 1:14-cr-00044-LG-RHW   Document 275   Filed 02/02/15   Page 3 of 6
Case 1:14-cr-00044-LG-RHW   Document 275   Filed 02/02/15   Page 4 of 6
Case 1:14-cr-00044-LG-RHW   Document 275   Filed 02/02/15   Page 5 of 6
Case 1:14-cr-00044-LG-RHW   Document 275   Filed 02/02/15   Page 6 of 6
